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                                     EMPLOYMENT AGREEMENT

       THIS AGREEMENT is made by and between Beverly Proton Center, LLC, a California
Limited Liability Company, formally known 2.s Los Angeles County Proton Therapy, LLC
(hereinafter called "Company") and Charles C Liu (hereinafter called "Employee").

                                            RECITALS

       A.     WHEREAS Company is in the business of developing Proton Therapy Center and
requires the services of a President of the company, and wishes to extend to employee
an offer of employment:

       B.     WHEREAS Employee has represented to Company that he has the skills and
experience necessary to perform the duties of such President:

       C. WHEREAS Employee desires to accept an offer of employment by Company as its
President:

      NOW THEREFORE, in consideration of the above, and of the mutual agreements
hereinafter set forth, the parties hereto do hereby agree as follows:

                                            AGREEMENT

1.   Offer of Employment:   Company hereby offers employment to Employee as President
upon the terms and conditions set forth in t:1is Agreement.

2.   Acceptance of Employment:   Employee accepts Company's employment offer upon the
terms and conditions set forth in this Agreement.

3.   Term of Agreement:

       This Agreement shall have a term of ='i ve years and shall be renewable upon the
mutual agreement of the parties by separate contract at the expiration of the term of
employment.

4.   Employee Compensation:

       Employee shall receive as compensation an annual base salary of $550,000.00. The
Company agrees to pay the employee since January 2011. In addition to base salary,
Employee shall earn bonus on the following basis:

                Eight   percent   of the   total capital,   including debt   financing raised
reached up to $28,000,000.00

5.   Payment of Salary:                                                       EXHIBIT

                                                                                120             14----
                                                                             2-24-2021 C. Liu




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       Company shall pay Employee base salary according to the Company's regular
payroll schedule.

6.   Employee's Employment Duties:

      a.     Employee shall be responsible    for   the   day-to-day    operation   of   the
corporation and its production facility.

       b.   In performing his job duties for Company, Employee shall devote his full
time attention and efforts to discharge the responsibilities assigned to him, shall
not in any manner work for any other Company, in any business related to or unrelated
to the business of Company, or to compete with Company on an independent basis, or
otherwise, and shall perform such other duties consistent with his position, as may
from time to time be assigned to him by Company. The term "full time", for purposes
of this Agreement is agreed to be not less than forty (40) hours per week.

7.   Telephone Service:

       Company shall provide Employee with one Cellular Telephone and one Cellular
Telephone Account, corresponding thereto.

8.   Employee's Reimbursement for Expenses:

       a. Employee shall be entitled to the reimbursement of all normal and justified
business expenses (reimbursable business expenses) reasonably incurred in connection
with the performance of Employee's employment duties with Company.

       b. Company shall provide Employee with a Corporate Credit Card for purposes of
payment of business expenses.

       c.   For cash disbursements by Employee for reimbursable business expenses,
Employee shall submit a monthly itemized business expense report to Company on or
about the first (1st) day of each month, along with actual receipts for such
expenditures. Such business expenses shall be paid to Employee by Company on or about
the fifteenth (15th) day of that month.

9.   Vacations, Holidays, and Sick Time:

       a. Employee shall be entitled to fourteen (14) working days paid vacation to be
taken within the next 365 calendar days.     Vacation time shall be earned and shall
accrue to the benefit of Employee on the anniversary date of Employee's employment.
Vacation shall be taken at a time mutually convenient to Company and Employee, and
shall be upon at least thirty (30) days written notice by Employee to Company.
Company and Employee shall be reasonable with each other in the scheduling of vacation




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time, and neither shall be arbitrary or capricious in such scheduling. Vacation time
not taken within 365 days of accrual shall be paid to Employee by Employer as bonus.

      b.   Employee shall be entitled to foLrteen (14) sick or personal days per year
in addition to vacation time.

       c.   At a minimum, Employee shall be er.titled to the following paid holidays:

              1.    New Year's day
              2.    Day on Good Friday
              3.    Memorial Day
              4.    July 4th official government holiday
              5.    Labor Day
              6.    Thanksgiving
              7.    Day on Christmas Eve
              B.    Christmas Day

       In addition, Employee shall be entitled to any religious holiday of Employee's
religion, not exceeding one day, which is normally recognized and celebrated by that
religion as a day off work.

10.   Insurance Benefits:

       a.  Company shall provide to Employee and his family, through a Group Medical
Insurance Plan, or otherwise, at Company's sole expense, a policy of medical
insurance. Employee shall be responsible for any co-payments to heal th care providers
as required by the insurance policy at Employee's sole expense.

11.   Disclosure:

       a. Employee agrees to make available to Company all knowledge possessed by him
relating to any methods, deve1opments, invention, and/or improvements, which concern
in any way the business of Company, whether acquired by Employee before or during the
term of his employment hereunder, provided that nothing herein shall be construed as
requiring any disclosure where the method, development, invention and/or improvement
is lawfully protected from disclosure as a trade secret of a third party or by any
other lawful bar to such disclosure.

       b.   Any ideas, methods, developments, inventions and/or improvements which
Employee may conceive of or make along the lines of the business of Company, while in
Company's employ, shall be and remain the property of Company.      Employee agrees to
promptly communicate and disclose all suer. ideas, methods, developments, inventions
and/or improvements to Company and to execute and deliver to Company any instruments
deemed necessary by Company to effect the disclosure and assignment thereof to it.




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       c. Employee agrees to receive and maintain in confidence and not to disclose to
any third party all ideas, methods, developments, client lists,            inventions,
improvements and business plans and information of Company of which Employee becomes
aware during his employment hereunder or which Employee conceives or makes, whether
solely or jointly, while in Company's employ.

       d. Confidentiality: Employee acknowledges that during the course of employment
with Company, Employee will have access to certain information that is of great value
to Company, and which is not readily available to outsiders.      Employee understands
that such information, including but not limited to trade secrets, clients lists,
customer lists, designs, drawings, plans, documents, prototypes, manufacturing
techniques, equipment, sales and clilent or customer information, pricing and
purchasing plans, business and financial information, work in progress, products,
files, reports, memoranda, computer software or programming and budgets or other
financial plans or information regarding Company and its business, property and
affairs,   employees, clients, customers, vendors or suppliers, proposals and
projections, included but not limited to long-range plans for Company's growth,
expansion, development, and continued fostering of its relationships with its
employees, clients, customers, vendors or suppliers (hereinafter referred to as
"Confidential Information"), is protected, confidential and proprietary information of
Company.

12.    Covenant of Confidentiality:      Employee agrees to hold in the strictest
confidence, and agrees not to publish or disclose to any other person or entity at any
time, either during or after employment, any Confidential Information of Company
without the prior written consent of Company.

13.    Use of Confidential Information:       Employee agrees not to use any such
Confidential Information to compete with Company in any way, either directly or
indirectly, and will not otherwise use or misuse any such Confidential Information for
Employee's own benefit, or to the detriment of Company.

14.    Delivery of Confidential Information:     Employee further agrees to promptly
deliver to Company, upon request or upon termination from employment, all
correspondence, notes, computer disks, computer data, books, records, memoranda,
worksheets, drawings, reports, and other written or computer information or data of
any kind, relating to or arising out of business, products, practices, or techniques
of Company.    It is understood that all work product of Employee while in Company's
employ belongs to and is proprietary to Company, and Employee shall not be entitled to
take or use any such information, in any form whatsoever for personal use or
otherwise.

15.   Non-Solicitation of Employees, Clients,
      Customers, Vendors or Suppliers:




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                                                                                         nt
       a. Employee agrees that during the term of his employment under this Agreeme
                                                                                 be brought
and after termina tion thereof , regardl ess of however such termina tion shall
                                                                               supplie r of
about, he will not contact any employee, vendor, client, custome r or
                                                                                to disrupt
Company or any of its affilia tes regardin g any matter which is likely
                                                                             es, vendors ,
employe r's good employment or busines s relation ship with such employe
clients , custome rs or supplie rs.  Further , Employee shall make no stateme nt, whether
                                                                               custome r or
true, false, deceptiv e or mislead ing, to any employee, vendor, client,
supplie r of Company which is likely to cause such disrupti on.

                                                                                       the
       b. Employee agrees that for a period of two (2) years after Employee leaves
                                                                              approac h or
employ of Company, he will not, directl y or indirec tly, or through others,
                                                                            to leave the
solicit any employee of Company for purpose s of causing such employee
employ of Company.    During said two (2) year period Employee shall not, directly or
                                                                              e or former
indirec tly, or through others, hire, employ, or contrac t with any employe
employee of Company.

       c.   Employee agrees that during his period of employ with Company he will not
                                                                             or other
authori ze his name to be used by any person, partner ship, corpora tion
busines s entity without Company's written consent.

16.   Covenan ts Not to Compete:

       a.  Employee covenan ts and agrees that for a period of two (2) years from and
                                                                               of however
after the termina tion of Employ ee's employment with Company, regardl ess
                                                                             or on behalf
such termina tion shall be brought about, he will not either individ ually,
                                                               agent,  contrac tor, owner,
of any other person, firm, company or entity as an employee,
                                                                               solicit or
partner , shareho lder, or joint venture r, which directly or indirec tly,
                                                                         or  supplie r of
perform any service s with regard to any client, custome r, vendor
                                                                                 in
Company, or which has been a client, custome r, vendor or supplie r of Company
                                                                              is actively
the two (2) years preceed ing Employ ee's termina tion, or which Company
engaged in soliciti ng as such while Employee is in the employ of Company.

       6.   Employee covenan ts and agrees that for a period of two (2) years from and
                                                                                of however
after the termina tion of Employ ee's employment with Company, regardl ess
                                                                            tly or through
such termina tion shall be brought about, he will not directl y or indirec
                                                                        client,  custome r,
any scheme, trick or device or otherwi se, become an employee of any
                                                                             r, vendor or
vendor or supplie r of Company, or which has been a client, custome
                                                                                  or which
supplie r of Company in the two (2) years preceed ing Employe e's termina tion,
                                                                  e  is  in  the employ of
Company is actively engaged in soliciti ng as such while Employe
Company.

        c.  Employee covenan ts and agrees that for a period of two (2) years from and
                                                                                of however
 after the termina tion of Employ ee's employment with Company, regardl ess
                                                                            tly or through
 such termina tion shall be brought about, he will not directl y or indirec
                                                                          in  any busines s
 any scheme, trick or device or otherwi se, become an owner or princip al




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which does business with any client, customer, vendor or supplier of Company, or which
has been a client, customer. vendor or supplier of Company in the two (2) years
preceeding Employee's termination, or which Company is actively engaged in soliciting
as such while Employee is in the employ of Company.

17.    Definition of "Client, Customer, Vendor, or Supplier":       The term "client,
customer, vendor or supplier" as used herein singularly and conjunctively, shall mean
and include any person, firm, corporation or entity of whatever description, for whom
Company shall have performed or been engaged to perform sales or services, or for whom
such client, customer, vendor or supplier has been engaged to perform any sales or
services to Company, at any time within the two (2) year period preceding the date
employment is terminated.

18.    Definition of "Services":    The term "services" shall mean and include all
services of the nature and type customarily offered and furnished by Company or by the
client, customer, vendor or supplier.

19.  Consideration for Covenants:   It is agreed by and between Company and Employee
that the confidentiality agreement and covenant not to compete set forth herein are
necessary for the protection of the business of Company, and that as consideration for
Employee's agreement thereto, Employee will receive access to Company's confidential
business information, as well as special training in Company's manner of doing
business. Were it not for this agreement, Company would not release such confidential
 information to Employee.

20.   Liquidated Damages Clause:    The parties hereto recognize that it would be
difficult if not impossible to formulate and offer proof as to the damages that wi 11
be sustained by Company upon breach of the covenants and agreements above expressed,
and in recognition thereof the parities hereby agree that a fair and reasonable
stipulation of the damages that will be suffered by Company as to each breach of the
                                                                      described, and
Covenant herein made binding upon employee, are as hereinafter
therefore Employee hereby agrees:

        If Employee should breach any covenant        of confidentiality or competition
 heretofore expressed, Employee shall be obligated    to pay to Company, as to each such
 vendor, client or customer regarding whom a breach   a occurred, as liquidated damages
 for breach of the covenants herein expressed, an     amount equal to the greater of the
 following amounts:

              a.   the aggregate gross billings to or from each such client, customer,
 vendor or supplier for sales or services performed by Company or for Company by such
 client, customer, vendor or supplier during the twelve (12) months immediately
 preceding the month in which termination of employment occurred; or

              b.   one half (1/2) of the aggregate gross billings of Company to such




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                                                                           by Company for
client, custome r, vendor or suppl i.er for sales or service s perform ed
                                                                             all sales or
such client, custome r, vendor or supplie r, and net profit to Company for
                                                                                four (24)
service s to such client, custome r, vendor or supplie r during the twenty-
                                                                             occurre d; or
months immedia tely precedin g the month in which termina tion of employment

              c. the aggrega te gross billing s of Employee to or from each such client,
                                                                                    or for
       custome r, vendor or supplie r for sales or service s perform ed by Employee
                                                                                      four
       Employee by such client, custome r, vendor or supplie r during the twenty-
                                                                           of employment.
       (24) months immedia tely after the date of Employe e's termina tion

              d. Such liquida ted damages shall be due and payable when written demand
       for same has been made by Company.    If not paid in full within thirty (30) days
                                                                                  Company
       after such demand is made, it is hereby agreed that all amounts due
                                                                    law from the date any
       shall bear interes t at the maximum legal rate permitt ed by
                                                                                       er
       such demand for payment has been made until all amounts due Company hereund
       have been paid in full.

              e.  Each breach of the Covenan ts and agreeme nts herein express ed shall
       give rise to a separat e and indepen dent cause of action.

                f.   Company shall be authoriz ed to deduct any amounts owing to it
 hereund er from any salary or other payments owing by Company to Employee.

                g. This damage provisio n shall not be constru ed as preclud ing Company,
                                                                               ent of the
 at its sole option, from seeking any type of injunct ive relief for enforcem
                                                                                advisab le
 covenan ts herein contain ed, or any other type of relief which Company deems
 or appropr iate.

                                                                            be irrepara bly
 21. Right to Injuncti on: Company and Employee agree that Company will
                                                                               nts relating
 damaged in the event of a breach of any of Employe e's covenan ts or agreeme
 to "Disclo sure", "Confid entialit y", or "Compe tition" above.    Accordi ngly, Employee
                                                                                   able and
 hereby agrees that such covenan ts and agreeme nts shall be specifi cally enforce
                                                                                thereof may
 that, in addition to any other remedie s, any breach or threaten ed breach
 be enjoine d by any court of compete nt jurisdic tion.    It is further agreed that any
                                                                                hereto will
 breach or evasion of any of the terms of this Agreement by either party
                                                                                  authori ze
 result in immediate and irrepara ble injury Lo the other party and will
                                                                                   legal or
 recours e to injunct ion and/or specifi c perform ance as well as to all other
 equitab le remedie s to which such injured party may be entitled .

 22.   Benefit of Agreement:     This Agreement shall inure to the benefit of, and be
                                                                                  ntative s,
 binding upon, the parties hereto and their respect ive legal represe
                                                                             partner ships,
 adminis trators, executo rs, success ors, subsidi aries and affilia tes,
                                                                                 s entitie s
 corpora tions, and other busines s entitie s, and upon other persons or busines
 with whom the parties hereaft er have a busines s affiliat ion.




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 23.   Litigation Expenses:  If Company is forced to seek the services of an attorney
 concerning the interpretation of this Agreement, or any provision of this Agreement,
 or the enforcement of this Agreement, or any portion of this Agreement, by any action
 at law or equity, Company shall be entitled to reasonable attorneys fees, costs and
 necessary disbursements and shall be due and payable by Employee to Company within
 fourteen (14) days after invoice date.    Any legal action to recover attorneys fees
 provided herein may be brought within any legal action brought to enforce or interpret
 the terms of this Agreement, or in a separate action brought solely for payment of
 attorneys fees and costs.

 24.   Applicable Law; Jurisdiction; Captions; Time of Essence:  It is stipulated by
 Company and Employee that this Agreement is entered into in the State of California,
 and shall be governed and construed in accordance with the law of the State of
 California.   Jurisdiction is deemed by Company and Employee to be the appropriate
 court of jurisdiction in Orange County, California.

 25.  Captions: The captions at the beginning of each paragraph of this Agreement are
 solely for the convenience of the parties and are not part of this Agreement. Time is
 of the essence in this Agreement.

 26.  Waiver: The waiver by either party of a breach of a provision of this Agreement
 shall not operate or be construed as a waiver of a subsequent breach thereof.

 27.  Severability: Each provision of this Agreement is intended to be severable from
 the others so that if any provision or term hereof is illegal or invalid for any
 reason whatsoever, such illegality or invalidity shall not affect the validity of the
 remaining provisions and terms hereof.

 28.  Assignment: This Agreement and all rights hereunder are personal to Employee and
 shall not be assignable, and any purported assignment thereof shall not be valid and
 binding upon Company.  Company may assign all of its rights hereunder to any person,
 firm or corporation succeeding to the business of Company.

 29.   Modification of Agreement:  This Agreement may be modified only by a writing
 signed by the parties, or their  respective authorized agents.   Any modification of
 this Agreement will be effective only if it is in writing and signed by the party to
 be charged.

 30.   Survival of Agreements and Covenants:   It ls the intent of the parties to this
 Agreement that the confidentiality agreements and covenants not to compete will
 survive the termination of Employee's employment with Company unless the contrary is
 set forth in writing and signed by Company and Employee.

 31.  Scope of Validity: This Agreement and all covenants herein shall be valid in,
 and shall extend worldwide, and not withstanding any provision of this Agreement




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 regard ing Jurisdiction. may at the sole option of Company , be enforced by Company in
 any jurisdiction where any violation takes place.

 32.    No Conflicts: Employee represents and warrants to Company that he is not now
 under any ob l igat ion of a contractual or other nature to any person, firm or entity
 wh ich is inconsistent or i n conflict with this Agreement , or which would prevent.
 limit , impair , or conflict with in any way , the performance by him of his obligations
 and covenants made hereunder.

 33.  Entire Agreement: The execution of this Agreement by Company and Employee alike
 is free and vol untary. No inducement to enter into this Agreement except as expressly
 stated herein, is made by either Company or Employee. This Agreement supersedes any
 and all other agreements. either oral or in writing, between the parties hereto and
 contains al l of t he covenant s and agreements
 between them. Each party acknowledges that no representation.
 inducement. promise or agreement, orally or otherwise. has been made by any party or
 anyone acting on behalf of any party which is not embodied herein.

       WHEREFORE. this Agreement is executed by t he parties. in dup l icate original . on
 the dates hereinbelow written.

        NOTE: THIS IS A LEGAL DOCUMENT. DO NOT SIGN I T UNLESS
        YOU HAVE READ AND UNDERSTOOD THE ENTIRE AGREEMENT. AND AGREE WITH ALL OF THE
 PROVISIONS HEREIN.

 Dated: April 5. 2016                                   Dated: April o. 2016


 BEVERLY PROTON CENTER. LLC
 AKA. Los Angeles County
 Proton Therapy LLC                                     CHARLES C LIU


                                                        By: ~




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